Case 2:15-cv-00998-JRG-RSP Document 10 Filed 06/11/15 Page 1 of 2 PageID #: 51




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


DISPLAY TECHNOLOGIES, LLC,

                            Plaintiff,
                                                      Civil Action No. 2:15-cv-998
                v.
                                                     JURY TRIAL DEMANDED
NVIDIA CORPORATION,

                            Defendant.


                      CORPORATE DISCLOSURE STATEMENT

        Plaintiff Display Technologies, LLC is a Texas limited liability company. Display

Technologies, LLC has no parent corporation, and no publicly held company owns 10% or more

of its stock.
Case 2:15-cv-00998-JRG-RSP Document 10 Filed 06/11/15 Page 2 of 2 PageID #: 52




       DATED June 11, 2015.                          Respectfully submitted,

                                                     By: /s/ Stevenson Moore
                                                     Hao Ni
                                                     Texas Bar No. 24047205
                                                     hni@nilawfirm.com
                                                     Timothy T. Wang
                                                     Texas Bar No. 24067927
                                                     twang@nilawfirm.com
                                                     Neal G. Massand
                                                     Texas Bar No. 24039038
                                                     nmassand@nilawfirm.com
                                                     Stevenson Moore V
                                                     Texas Bar No. 24076573
                                                     smoore@nilawfirm.com

                                                     NI, WANG & MASSAND, PLLC
                                                     8140 Walnut Hill Ln., Ste. 500
                                                     Dallas, TX 75231
                                                     Tel: (972) 331-4600
                                                     Fax: (972) 314-0900

                                                    ATTORNEYS FOR PLAINTIFF
                                                    DISPLAY TECHNOLOGIES, LLC



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of June, 2015, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas,
Marshall Division, using the electronic case filing system of the court. The electronic case filing
system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in
writing to accept this Notice as service of this document by electronic means.

                                             /s/ Stevenson Moore___
                                             Stevenson Moore
